243 F.2d 567
    UNITED STATES of America, Plaintiff-Appellee,v.LIEBERMAN-KOREN CORP. and Sylvia Kapner, Defendants-Appellants.
    No. 317, Docket 24530.
    United States Court of Appeals Second Circuit.
    Argued April 2, 3, 1957.Decided April 18, 1957.
    
      Selig Kaplan, Brooklyn, N.Y., for defendants-appellants.
      John W. Wydler, Asst. U.S. Atty., E.D.N.Y., Brooklyn, N.Y.  (Leonard P. Moore, U.S. Atty., Brooklyn, N.Y., on the brief), for plaintiff-appellee.
      Before CLARK, Chief Judge, LUMBARD, Circuit Judge, and LEIBELL, District Judge.
      PER CURIAM.
    
    
      1
      There was adequate evidence, presented by the employees themselves, that they had worked overtime for the defendant corporation-- of which the individual defendant was the sole office employee and bookkeeper-- and that they had not been paid the overtime wages required by law.  Testimony from them was obviously necessary and appropriate, since the defendants controlled the corporate books.  Denial of the defendants' motion for a bill of particulars was quite proper, particularly in view of the extensive details supplied defendants by the United States Attorney.  There was no error in the admission of testimony, including a defense witness' prior statement, with a portion shown to have been deleted, as it had been because of defense objections.  The trial conduct of the prosecuting attorney was unexceptionable and the judge's charge fair and adequate.  The appeal is quite without merit.
    
    
      2
      Affirmed.
    
    